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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

                              CASE NO.: 6:22-cv-02168

 JOSHWA PEREZ,

             Plaintiff,

 v.

 EQUIFAX INFORMATION
 SERVICES LLC; HEALTHCARE
 REVENUE RECOVERY GROUP, LLC
 D/B/A ARS ACCOUNT RESOLUTION
 SERVICES,


          Defendants.
 _____________________________________/

                           Joint Case Management Report


      The goal of this case management report is to “secure the just, speedy,
and inexpensive determination of” the action. See Fed. R. Civ. P. 1. Under Local
Rule 3.02(a)(2), this case management report should be used in all civil cases
except those described in Local Rule 3.02(d). Individual judges may have
additional case management preferences that can be found under each judge’s
name on the Court’s website, flmd.uscourts.gov/judges/all.

1. Date and Attendees

      The parties may conduct the planning conference “in person, by telephone,
      or by comparable means[.]” See Local Rule 3.02(a)(1).

      The parties conducted the planning conference on 1/9/2023. Frank H.
      Kerney, III, Esquire for Plaintiff; Ernest H. Kohlmyer, III, Esquire
      for Defendant Healthcare Revenue Recovery Group, LLC d/b/a ARS
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   Account Resolution Services; and Jason Daniel Joffe for Defendant
   Equifax Information Services LLC attended the conference.

2. Deadlines and Dates

   The parties request these deadlines and dates:

   Action or Event                                                   Date

   Deadline for providing mandatory initial disclosures. See
                                                                     1/23/2023
   Fed. R. Civ. P. 26(a)(1).

   Deadline for moving to join a party, see Fed. R. Civ. P. 14,
                                                                      2/1/2023
   19, and 20, or amend the pleadings, see Fed. R. Civ. P. 15(a).

   Plaintiff’s deadline for disclosing any expert report. See Fed.   3/21/2023
   R. Civ. P. 26(a)(2).

   Defendant’s deadline for disclosing any expert report.            4/21/2023

   Deadline for disclosing any rebuttal expert report.               5/15/2023

   Deadline for completing discovery and filing any motion to
   compel discovery. See Fed. R. Civ. P. 37; Middle District          6/1/2023
   Discovery (2021).

   Deadline for moving for class certification, if applicable. See      NA
   Fed. R. Civ. P. 23(c).

   Deadline for filing any dispositive and Daubert motion. See
   Fed. R. Civ. P. 56. (Must be at least five months before          7/17/2023
   requested trial date.)

   Deadline for participating in mediation. See Local Rules, ch.
   4.
    Mediator: James Betts
    Address: Musetta & Associates                                     7/3/2023
    201 N. Franklin St. Suite 3400
    Tampa, FL, 33602
    Telephone:(813) 254-3302
   Date of the final pretrial meeting. See Local Rule 3.06(a).       8/28/2023




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   Deadline for filing the joint final pretrial statement, any
   motion in limine, proposed jury instructions, and verdict
                                                               9/5/2023
   form. See Local Rule 3.06(b). (Must be at least seven days
   before the final pretrial conference.)

                                                                       If needed, to
   Date of the final pretrial conference. See Fed. R. Civ. P. 16(e);
                                                                         be set by
   Local Rule 3.06(b).
                                                                           Court

   Month and year of the trial term.                                   10/23/2023

   The trial will last approximately 2-3 days and will be

   ☒ jury.
   ☐ non-jury.

3. Description of the Action

            Plaintiff asserts that ARS violated the FCRA, FDCPA, and the
         FCCPA during the course of debt collection for services from FL
         Emergency Physicians Kang Assoc. Additionally, Plaintiff asserts
         that Equifax violated the FCRA in connection with the handling of a
         dispute letter dated October 6, 2022 for the ARS debt. Specifically,
         Plaintiff claims that ARS violated 15 U.S.C. §1681s2-b by failing to
         fully and properly investigate Plaintiff’s dispute, failing to review all
         relevant information regarding same, by failing to correctly report
         results of an accurate investigation to the credit reporting agencies,
         and by failing to permanently and lawfully correct its own internal
         records to prevent re-reporting of the ARS account. Plaintiff avers
         that ARS continued to report the debt to his credit report after being
         notified that Plaintiff disputed the account. Further, Plaintiff alleges
         that ARS violated 15 U.S.C. §1681s2-b in that it failed to conduct a
         reasonable investigation upon receipt of notice of dispute from
         Equifax and that ARS continues to report the debt to his credit report
         with the knowledge that the information is inaccurate.

            Additionally, Plaintiff alleges that ARS violated 15 U.S.C. § 1692f
         by mailing Plaintiff collection letters despite having information to
         determine that the debt did not belong to him. Further, Plaintiff
         claims that ARS violated § 559.72 (9) by attempting to collect a debt



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        that it knew was not legitimate. Plaintiff claims that due to the
        information reported by ARS, he has suffered damages for loss of time
        and money for attempting to fix his credit, mental and emotional pain,
        sleepless nights, mental anguish, stress, aggravation, a reduction to
        his credit score, and apprehensiveness to apply for credit for fear of
        rejection. ARS denies that it violated the FCRA, FDCPA, or FCCPA
        and has asserted affirmative Defenses DE [17]. Plaintiff alleges that
        Equifax willfully violated the FCRA by failing to establish or to follow
        reasonable procedures, delete inaccurate information, and conduct a
        lawful investigation of Plaintiff’s dispute.

            Equifax denies Plaintiff’s allegations against Equifax. Equifax
        denies that it failed to comply with the requirements set forth under
        the FCRA, denies that it is liable to Plaintiff, and denies that Plaintiff
        suffered damage as a result of any alleged wrongful actions or
        inactions of Equifax. Equifax maintained reasonable procedures to
        assure the maximum possible accuracy of the information concerning
        Plaintiff for the preparation of consumer reports. Equifax’s conduct
        has not been negligent or willful, nor has Equifax acted with malice
        or a reckless or conscious disregard for the rights of Plaintiff.
        Plaintiff’s claimed damages were not caused by Equifax but by
        Plaintiff or by third parties. Discovery has not yet begun, and Equifax
        bases this statement on the facts and information currently available
        to it and reserves the right to supplement this summary if necessary
        as this case and the facts develop. Equifax readopts and realleges its
        affirmative defenses from the Answer and Affirmative Defenses filed
        in response to Plaintiff’s Complaint as if fully set forth herein. At this
        time, Equifax is not asserting any claims against Plaintiff in this
        action, but reserves the right to do so as the facts develop.

           ARS also denies Plaintiff’s allegations asserted against it. ARS
        similarly denies that it failed to comply with the requirements set
        forth under the FCRA, denies that it is liable to Plaintiff, and denies
        that Plaintiff suffered damage as a result of any alleged wrongful
        actions or inactions. ARS conducted a reasonable investigation of the
        credit dispute and relied upon the original creditor’s representations
        as to the accuracy of the reporting. ARS maintains reasonable
        procedures to assure the prevention of violations of the FDCPA and/or
        FCCPA and any error is unintentional and despite the maintenance
        of these procedures and policies. ARS’ actual conduct has not been
        negligent or willful, nor has ARS acted with malice or a reckless or



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         conscious disregard for the rights of Plaintiff. Plaintiff’s claimed
         damages were not caused by ARS but by Plaintiff or by third parties.
         Discovery has not yet begun, and ARS bases this statement on the
         facts and information currently available to it and reserves the right
         to supplement this summary if necessary as this case and the facts
         develop. ARS readopts and realleges its affirmative defenses from the
         Answer and Affirmative Defenses filed in response to Plaintiff’s
         Complaint as if fully set forth herein. At this time, Equifax is not
         asserting any claims against Plaintiff in this action, but reserves the
         right to do so as the facts develop.


4. Disclosure Statement

   ☒The parties have filed their disclosure statement as required by Federal
   Rule of Civil Procedure 7.1 and Local Rule 3.03.

5. Related Action

   ☒ The parties acknowledge their continuing duty under Local Rule 1.07(c)
   to notify the judge of a related action pending in the Middle District or
   elsewhere by filing a “Notice of a Related Action.” No notice need be filed if
   there are no related actions as defined by the rule.

6. Consent to a Magistrate Judge

   “A United States magistrate judge in the Middle District can exercise the
   maximum authority and perform any duty permitted by the Constitution
   and other laws of the United States.” Local Rule 1.02(a). With the parties’
   consent, a district judge can refer any civil matter to a magistrate judge for
   any or all proceedings, including a non-jury or jury trial. 28 U.S.C. § 636(c).

   The Court asks the parties and counsel to consider the benefits to the
   parties and the Court of consenting to proceed before a magistrate judge.
   Consent can provide the parties certainty and flexibility in scheduling.
   Consent is voluntary, and a party for any reason can decide not to consent
   and continue before the district judge without adverse consequences. See
   Fed. R. Civ. P. 73(b)(2).




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   ☐ The parties do consent and file with this case management report a
   completed Form AO 85 “Notice, Consent, and Reference of a Civil Action to
   a Magistrate Judge,” which is available on the Court’s website under
   “Forms.”
   ☒ The parties do not consent.

7. Preliminary Pretrial Conference

   ☒ The parties do not request a preliminary pretrial conference before the
   Court enters a scheduling order.
   ☐ The parties do request a preliminary pretrial conference, and the parties
   want to discuss enter discussion points.


8. Discovery Practice

   The parties should read the Middle District Discovery Handbook, available
   on the Court’s website at flmd.uscourts.gov/civil-discovery-handbook, to
   understand discovery practice in this District.

   ☒ The parties confirm they will comply with their duty to confer with the
   opposing party in a good faith effort to resolve any discovery dispute before
   filing a motion. See Local Rule 3.01(g); Middle District Discovery (2021) at
   § I.A.2.

9. Discovery Plan

   The parties submit the following discovery plan under Rule 26(f)(2):

   A.   The parties agree to the timing, form, or requirement for disclosures
        under Rule 26(a):

        ☒ Yes.
        ☐ No; instead, the parties agree to these changes: enter changes.

    B. Discovery may be needed on these subjects: Whether Equifax willfully
       or negligently violated the FCRA; Whether ARS willfully or negligently
       violated the FCRA; Whether ARS received a notice of dispute for the
       subject debt; Whether ARS reported the subject debt to Plaintiff’s credit




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        report; Whether ARS had any knowledge that the debt is inaccurate;
        Whether the subject debt is inaccurate; Whether ARS intentionally,
        willfully, or knowingly violated the FDCPA or FCCPA; If ARS violated
        the FDCPA or FCCPA, the frequency and persistence of the violations;
        If ARS violated the FDCPA or FCCPA, whether it did so
        notwithstanding the maintenance of procedures reasonably adapted to
        avoid such error; Plaintiff’s Article III standing under the FDCPA and
        FCRA, whether Plaintiff’s allegations under the FDCPA are
        immaterial; and Plaintiff’s alleged damages and injuries.

    C. Discovery should be conducted in phases:

        ☒ No.
        ☐ Yes; describe the suggested phases.

   D.   Are there issues about disclosure, discovery, or preservation of
        electronically stored information?

        ☒ No. Additionally, the Parties agree to the exchange of all
        discovery, documents and pleadings via electronic means.
        ☐ Yes; describe the issue(s).

   E.   ☒ The parties have considered privilege and work-product issues,
        including whether to ask the Court to include any agreement in an
        order under Federal Rule of Evidence 502(d).

   F.   The parties stipulate to changes to the limitations on discovery
        imposed under the Federal Rules of Civil Procedure and Local Rule
        3.04 or other limitations:

        ☒ No.
        ☐ Yes; describe the stipulation.

10. Request for Special Handling

   ☒ The parties do not request special handling.
   ☐ The parties request special handling. Specifically, describe requested
   special handling.




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   ☐ Enter party’s name unilaterally requests special handling. Specifically,
   describe requested special handling.

11. Certification of familiarity with the Local Rules

   ☒ The parties certify that they have read and are familiar with the Court’s
   Local Rules.

12. Signatures

   Respectfully submitted,

 /s/ Frank H. Kerney, III___              /s/ Ernest H. Kohlmyer, III
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                                          Healthcare Revenue Recovery
                                          Group, LLC d/b/a ARS Account
                                          Resolution Services

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